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                       IN THE UNITED STATES BANKRUPTCY COURT
                        WESTERN DISTRICT OF ARKANSAS (Harrison)

IN RE: BILLY G. SCALLORN,                                               CASE NO. 3:22-bk-70129
       Debtor                                                                    CHAPTER 13


                                     MOTION TO DISMISS

        COMES NOW CS Bank, by and through its attorneys, FRIDAY, ELDREDGE & CLARK, LLP,

and for its Motion to Dismiss, states as follows:

        1.       On March 21, 2022, Billy G. Scallorn (the “Debtor”) filed a Motion to Extend the

Deadline to File Chapter 13 Schedules and Plan (Docket Entry No. 33) seeking an additional

fourteen (14) days to file his schedules and chapter 13 plan in this case. This was the Debtor’s

second motion seeking an extension of time to file the required documentation.

        2.       On March 29, 2022, CS Bank filed a Response to Motion to Extend the Deadline

to File Chapter 13 Schedules and Plan (Docket Entry No. 35).

        3.       The Court entered an Order to Extend the Deadline to File Chapter 13 Schedules

and Plan on April 2, 2022, (Docket Entry No. 37) (the “Agreed Order”), which was agreed to by

counsel for CS Bank, the Debtor, and the staff attorney for the Chapter 13 Standing Trustee.

        4.       The Agreed Order provided in pertinent part— “In the event the Debtor fails to file

his deficient schedules and plan or to pay the filing fee in accordance with the Court’s Order

Granting Application/Motion to Pay Filing Fee in Installments (Docket Entry No. 15) by April 8,

2022, this case should be dismissed with prejudice to the Debtor filing for one (1) year.”

        5.       In accordance with the Agreed Order, the Debtor’s filing fee was paid on April 6,

2022.




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        6.       The Debtor filed the deficient documents after the agreed to April 8, 2022,

deadline—

                      •   Arkansas Chapter 13 Plan (Docket Entry No. 41) filed April 9, 2022, at
                          1:33 A.M.;

                      •   Voluntary Petition (Docket Entry No. 42) filed April 9, 2022, at 11:58
                          P.M.;

                      •   Schedules A/B, C, D, E/F, G, H, and I (Docket Entry No. 43) filed April
                          10, 2022, at 1:24 A.M.;

                      •   Schedule J and Statement of Financial Affairs (Docket Entry No. 44) filed
                          April 11, 2022, at 7:47 A.M.;

                      •   Summary of Assets and Liabilities (Docket Entry No. 45) filed April 11,
                          2022, at 7:59 A.M.

        7.       Pursuant to the terms of the Agreed Order, the Debtor’s case should be dismissed

with prejudice to him filing for one (1) year.


        WHEREFORE, CS Bank prays that this Court dismiss this bankruptcy case with prejudice

to the Debtor, Billy G. Scallorn, filing any other petition under the Bankruptcy Code for one (1)

year, and for any other relief to which it may be entitled.


                                                 Respectfully submitted,

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                                                 Lindsey Emerson Raines, AR Bar 2016199
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                                                 By:    /s/ Lindsey Emerson Raines
                                                        Lindsey Emerson Raines

                                                 Counsel for CS Bank



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                                   CERTIFICATE OF SERVICE

       I, Lindsey Emerson Raines, do hereby certify that a true and correct copy of the above
and foregoing has been provided to the following attorneys of record by electronic mail through
the Electronic Case Filing System on this 12th day of April 2022.

Matthew D. Mentgen                                 Joyce Bradley Babin
Mentgen Law                                        Chapter 13 Standing Trustee
PO Box 164439                                      PO Box 8064
Little Rock, AR 72216                              Little Rock, AR 72203

U.S. Trustee
Office of U.S. Trustee
200 W. Capitol, Ste. 1200
Little Rock, AR 72201

                                                   /s/ Lindsey Emerson Raines
                                                   Lindsey Emerson Raines




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